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 4                                                                                         Honorable Barbara J. Rothstein

 5                                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF WASHINGTON
 6                                                  AT SEATTLE

 7 DEVELOPERS SURETY AND INDEMNITY                                            No. 2:20-cv-00912-BJR
   COMPANY,
 8                                                                            DECLARATION OF PAUL SMITH IN
             Plaintiff,                                                       SUPPORT OF PLAINTIFF’S MOTION
 9                                                                            FOR SUMMARY JUDGMENT
         vs.
10                                                                            NOTED FOR HEARING:
   ADAMS RESIDENTIAL CONTRACTING,                                             FRIDAY, SEPTEMBER 18, 2020
11 INC.,

12                         Defendant.

13
               I, Paul Smith, hereby declare the following:
14
               1.          I am over eighteen years of age and competent to make this declaration of my
15
     own personal knowledge.                   I am one of the attorneys for plaintiff Developers Surety and
16
     Indemnity Company.
17
               2.          Attached as Exhibit 1 is a true and accurate copy of the complaint filed in City of
18
     Seattle v. Adams Residential Contracting, Inc. and McDowell Northwest Pile King, Inc., King
19
     County Superior Court cause number 19-2-21001-0 SEA, filed on August 9, 2019.
20
               3.          Attached as Exhibit 2 is a true and accurate copy of a Certificate of Liability
21
     Insurance, with attached endorsement, produced by defendant with its initial disclosures and
22
     Bates stamped Foreman Sturm000001-7.
23

24                                                                                             FORSBERG & UMLAUF, P.S.
     Declaration of Paul Smith in Support of Plaintiff’s Motion for Summary Judgment – 1               ATTORNEYS AT LAW
     Cause No.: 2:20-cv- 00912-BJR
25                                                                                               901 FIFTH AVENUE  SUITE 1400
                                                                                                 SEATTLE, WASHINGTON 98164
                                                                                                (206) 689-8500  (206) 689-8501 FAX
26   2731990 / 1310.0024
                     Case 2:20-cv-00912-BJR Document 11 Filed 08/27/20 Page 2 of 3



 1             I declare under penalty of perjury under the laws of the United States and the State of

 2 Washington that the foregoing is true and correct.

 3             Signed and dated this 27th day of August, 2020 at Seattle, Washington.

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 5                                                                   s/ Paul S. Smith
                                                                     Paul S. Smith
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24                                                                                         FORSBERG & UMLAUF, P.S.
     Declaration of Paul Smith in Support of Plaintiff’s Motion for Summary Judgment – 2          ATTORNEYS AT LAW
     Cause No.: 2:20-cv- 00912-BJR
25                                                                                          901 FIFTH AVENUE  SUITE 1400
                                                                                            SEATTLE, WASHINGTON 98164
                                                                                           (206) 689-8500  (206) 689-8501 FAX
26   2731990 / 1310.0024
                     Case 2:20-cv-00912-BJR Document 11 Filed 08/27/20 Page 3 of 3



 1                                                 CERTIFICATE OF SERVICE

 2             The undersigned certifies under the penalty of perjury under the laws of the State of

 3 Washington that I am now and at all times herein mentioned, a citizen of the United States, a

 4 resident of the State of Washington, over the age of eighteen years, not a party to or interested in

 5 the above-entitled action, and competent to be a witness herein.

 6             On the date given below I caused to be served the foregoing DECLARATION OF PAUL

 7 S. SMITH WITH EXHIBITS on the following individual via the Court’s ECF system which will

 8 give notice to:

 9 Ms. Linda L. Foreman
   Foreman Sturm & Thede, LLP
10 5825 60th St. S.E.
   Snohomish, WA 98290-5104
11 Email: linda@foremansturm.com

12             SIGNED this 27th day of August, 2020 at Everett, Washington.

13

14                                                                   s/ Denise Mary Pope
                                                                     Denise Mary Pope
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24                                                                                         FORSBERG & UMLAUF, P.S.
     Declaration of Paul Smith in Support of Plaintiff’s Motion for Summary Judgment – 3          ATTORNEYS AT LAW
     Cause No.: 2:20-cv- 00912-BJR
25                                                                                          901 FIFTH AVENUE  SUITE 1400
                                                                                            SEATTLE, WASHINGTON 98164
                                                                                           (206) 689-8500  (206) 689-8501 FAX
26   2731990 / 1310.0024
